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                   UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF MARYLAND

SALLYE PURYEAR          *
                        *
       Plaintiff,       *
                        *
v.                      * Civil Case No.: AW-05-2993
                        *
GORDON R. ENGLAND       *
Secretary of the Navy   *
Office of the Secretary *
                        *
       Defendant.       *
***********************************************

    PLAINTIFF’S RESPONSE TO DEFENDANT’S “REPLY
   MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
  OR FOR SUMMARY JUDGMENT AND MEMORANDUM IN
OPPOSITION TO PLAINTIFF’S CROSS-MOTION FOR SUMMARY
                     JUDGMENT”

       Plaintiff, Ms. Sallye M. Puryear, by and through her counsel, Reverend Rickey

Nelson Jones, pursuant to Local Rule 105, responds to Defendant’s “Reply Memorandum

in Support of Motion To Dismiss Or For Summary Judgment and Memorandum In

Opposition To Plaintiff’s Cross-Motion For Summary Judgment” (hereinafter “Def.

Reply”). As grounds for her response, she says:

POINT FOR POINT REFUTATION OF DEF. REPLY

       1. On pages 1 and 2 of Def. Reply, its states that Plaintiff ignores the record and

asks the court to order new relief, find contrary to Captain Barnett’s Declaration,1 and



       1
        Attached are the corrected Affidavits of Jones and Harper, indicating the correct bulletin
board and elevator.
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award attorney’s fees even though not a prevailing party. Defendant is in error factually

and misinterprets Laber v. Harvey, 438 F.3d 404 (4 th Cir. 2006).

       2. Laber v. Harvey has a three part holding with only one part indicating that a

federal-employee plaintiff who prevails before the OFO on the issue of liability but who

is unsatisfied with the OFO remedy must place its employing agency’s discrimination at

issue in order properly to claim entitlement to a more favorable remedial award in the

district court.

       3. Laber v. Harvey does not apply to the facts of our case because Plaintiff is not

seeking “a more favorable remedy” in the district court. Plaintiff seeks the remedy

awarded but not granted by the agency. Moreover, OFO’s failure to recognize that

precise failure admitted by Defendant in its “Motion To Dismiss Or For Summary

Judgment,” pages 4 and 5, proves the need for district court correction.

       4. Defendant’s use of dicta in Laber v. Harvey cannot force its applicability herein.

Plaintiff’s Response and Cross Motion do not present anything new but common sense

“follow up” to awarded remedies, namely, [a] interest on money improperly withheld, [b]

communication with those needing to know about Plaintiff’s retroactive promotion for

proper retirement payments, [c] required postings after discriminating against protected

employees, and [d] payment of attorney’s fees incurred due to Defendant’s recalcitrance.

       5. On page 5 of Def. Reply, its states that Plaintiff’s contention that the Navy work

hand-in-hand with the Social Security Administration (hereinafter “SSA”) is
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unreasonable, and Plaintiff cites no statutory, regulatory, administrative, or judicial

authority for her proposition. Defendant misses the elementary.

       6. Plaintiff’s Complaint rests on matters of fact, not law. Effectuating Plaintiff’s

remedy via communication with SSA is the “how to” of her awarded justice. Clearly,

through either a lack of knowledge or diligence, Defendant failed to do that which was

necessary regarding Plaintiff’s retirement and back pay. Now, Defendant desperately

seeks legal maneuvering and fancy jurisdictional arguments to escape responsibility.

       7. On page 6 of Def. Reply, it states “even if the remedial award somehow could

be interpreted as embracing some obligation on the Navy’s part with respect to Social

Security benefits, Plaintiff failed to exhaust this claim by not including it in her

administrative appeal to OFO, precluding this Court’s consideration of the issue....”

Again, Defendant is in error.

       8. Plaintiff’s OFO appeal explicitly referenced her receiving reduced retirement

benefits. Since FERS retirees have retirement consisting of [a] social security benefits,

[b] basic benefit plan, and [c] thrift savings plan, Defendant’s failure to communicate

with SSA resulted in Plaintiff’s receiving reduced retirement benefits. Hence, when OFO

refused to correct the agency’s failures, Plaintiff’s administrative journey was exhausted.2


       2
         Defendant’s statements on pages 6 and 7 (including the footnote) about Plaintiff
supplying SSA information about the need to increase her retirement benefits and such benefits
being minuscule when corrected denote the serious lack of knowledge by Defendant. One, SSA
does not receive or honor information about increasing benefits from the recipient. Two,
designating Plaintiff’s corrected increased retirement benefits from SSA as “minuscule” shows
Defendant’s blindness to Plaintiff’s remedy and its meaning to someone living on retirement.
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       9. On page 7 of Def. Reply, it states that since interest on Plaintiff’s annuity was

not mentioned in her appeal to the OFO or in her Complaint, it is precluded from

consideration by the this court. Defendant seeks legal help for a factual mistake.

       10. Plaintiff did not, nor would, mention the interest sought in her Complaint in

her appeal to the OFO. The reason is this: there had not been three years and four months

of interest on $1,122.00. Moreover, this is also a matter of fact, not law. Defendant

simply “dropped the ball” with respect to its obligation. To wit, Plaintiff would have

placed her money in her bank account if given to her timely; Defendant did not give it to

her timely, and hence, the interest she has been deprived of is due. This is a factual

situation, not a legal one (calling for judicial interpretation).

       11. On page 9 of Def. Reply, it states that Harper and Jones’ affidavits looked for

the Notice near the incorrect elevator, and hence, they cannot rebut the evidence of

compliance offered by the Navy. If not for a typo, this argument of Defendant could not

even be made.

       12. Attached are corrected affidavits by Jones and Harper, showing the correct

elevator where they looked for the notice. Attached Corrected Exhibits C-1 & C-3.

       13. When Plaintiff learned of Defendant’s failure to post notice, she filed her

appeal on April 8, 2004, bringing such failure to the OFO’s attention. Hence,
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Defendant’s argument on page 10 of Def. Reply fails.3

       14. On page 11 of Def. Reply, it quotes Chris v. Tenet, 221 F.3d 648 (4 th Cir.

2000) for its position that Plaintiff cannot recover attorney’s fees in this court. Defendant

is in error factually and misinterprets Chris v. Tenet.

       15. Plaintiff’s Complaint is not a suit solely for attorney’s fees. It is a suit to

enforce substantive rights protected at the administrative level with specific awards and

accompanying attorney’s fees incurred to preserve those awards.

       16. Chris v. Tenet, 221 F.3d 648 (4 th Cir. 2000) held that a suit solely for

attorney’s fees and costs is not an action brought under Title VII (suit to enforce

substantive protections of Title VII), and hence, federal courts lack subject matter

jurisdiction over such actions.

       17. Chris v. Tenet did not hold that substantive rights protected at the

administrative level, with specific awards, cannot be enforced in federal court along with

reimbursement to the Plaintiff for attorney’s fees incurred in pursuit of those awards.

AFFIDAVITS

       Attached are the corrected affidavits of Jones and Harper. They prove that the

Defendant failed to post the required Notice following EEOC’s finding that it



       3
           Defendant also claims that it has been willing for two years to re-post the notice, but
Plaintiff has refused to accept the offer. Plaintiff is hearing for the first time, in Def. Reply, that
it is willing to re-post. This is precisely what Plaintiff has been arguing since 2004. Defendant
refuses to simply do what EEOC has ordered it to do. If Defendant fulfills its obligation and stop
seeking additional incentives, perhaps litigation would not exist presently.
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discriminated against a protected employee. Also attached is an affidavit from Plaintiff

(Exhibit “AA”), establishing her visit to SSA and the genuineness of the financial

documentation provided to her, i.e., Exhibits A-3 and A-4 of Plaintiff’s Response &

Cross Motion.

CONCLUSION

       For the aforementioned reasons, Plaintiff respectfully requests that Defendant’s

motion to dismiss or for summary judgment be denied and Plaintiff’s cross motion for

summary judgment be granted, awarding all relief requested in her Complaint, along with

the attorney’s fees and costs outlined in Exhibit “D” (of Complaint).




                                                 Respectfully submitted,

                                                     /s/    Rev. Rickey Nelson Jones
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